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                                                            October 4, 2019

      VIA CM/ECF

      The Honorable Ellen L. Hollander
      United States District Judge
      U.S. District Court for the District of Maryland
      101 W. Lombard Street
      Baltimore, MD 21201

               Re:       Mayor & City Council of Baltimore v. BP P.L.C., et al.
                         Case No.: 18-2357-ELH1

      Dear Judge Hollander:

              We write to apprise the Court that this afternoon, the Supreme Court of the United States
      requested that Plaintiff submit a response to Defendants’ Application To Stay Remand Order by
      October 18, 2019 at 3:00 p.m. (Eastern). This request was made on the case docket, which is
      accessible at
      https://www.supremecourt.gov/search.aspx?filename=/docket/DocketFiles/html/Public/19A368.
      html.

              We have conferred with counsel for Plaintiff and, given this request from the Chief
      Justice, Plaintiff has advised us that it will not move this Court to lift the current stay that is in
      place.

                                                                      Very truly yours,

                                                                      BAKER, DONELSON, BEARMAN,
                                                                      CALDWELL, & BERKOWITZ, P.C.

                                                                             /s/
                                                                      __________________________________
                                                                      Ty Kelly Cronin




      1
       This letter is submitted subject to and without waiver of any defense, affirmative defense or objection, including
      personal jurisdiction, insufficient process, or insufficient service of process.




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